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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
DEBRA MEEKER-SERENO                 §
                                    §
v.                                  §     CIVIL ACTION NO. 4:22-CV-01923
                                    §
DEUTSCHE BANK NATIONAL              §
TRUST COMPANY                       §
______________________________________________________________________________

              STIPULATION OF DISMISSAL WITHOUT PREJUDICE
______________________________________________________________________________

TO THE HONORABLE DISTRICT COURT JUDGE:

        Pursuant to the Federal Rule of Civil Procedure, Plaintiff Debra Meeker-Sereno hereby

stipulates and agrees to the following:

        1.     Plaintiff filed her Original Petition, Application for Injunctive Relief,

and Request for Disclosures in the 127th Judicial Court of Harris County, Texas on May 31st 2022

        2.     Defendant filed its Notice of Removal on June 13th 2022.

        3.     Plaintiff no longer desires to pursue her causes of action against Defendant at

this time.

        4.     Plaintiff as well as Defendant shall bear their own attorney’s fees, expert fees,

and litigation expenses incurred in litigating these claims.

        5.     Accordingly, Plaintiff requests that the Court dismiss this lawsuit without

prejudice against filing same in the future.

        WHEREFORE, PREMISES CONSIDERED, the Plaintiff hereto requests that the Court

enter the attached Order dismissing the above-entitled and numbered cause without prejudice with

costs of court being assessed against the party incurring same.
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                                              Respectfully submitted,
                                                     VILT LAW, P.C.

                                              By:    /s/ Robert C. Vilt
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                                              ATTORNEYS FOR PLAINTIFF



                              CERTIFICATE OF CONFERENCE

      I hereby certify that a conference was held on the merits of this motion on January 4th
2023 with Nicholas Frame and he is not opposed to the relief sought herein.

                                                     /s/ Robert C. Vilt
                                                     ROBERT C. VILT

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was forwarded to all counsel
of record pursuant to Rule 21a of the Texas Rules of Civil Procedure on this the 4th day of
January, 2023.

       Mark D. Cronenwett,
       Nicholas Frame,
       MACKIE WOLF ZIENTZ & MANN, P. C.
       14160 North Dallas Parkway, Suite 900
       Dallas, Texas 75254
       Telephone: 214.635.2650
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                                                     /s/ Robert C. Vilt
                                                     ROBERT C. VILT
